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United States Of America v. $96,935.00 in U.S. Currency
                   (6:17-cv-01230)
                     Jonathan Querisma
                        470-583-6359
                     391 East Sloss Ave
              Defuniak Springs Florida 32433
          charismamufasabookings@gmail.com
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                                          AFFIDAVIT
                                              State:Kansas
                                              County:EUis

  Personally appeared before me, Kareem Mitry, who after being duly sworn testifies that he has
  personal knowledge of the foregoing facts and opinions, that he is competent to testify in aU respects
  and further states, as follows


         Jam over 18 and my address 391 East Sloss Ave Defuniak Springs Fl 32433



  On July I21h 2017, Jonathan Querisma asked me to take a bag to a friend of his for a possible business
  endeavor that he did not go into detail about. He is an honest trustworthy friend so I never once thought
 of anything malice or illegal to be associated with the favor he was asking. I was given a borrowed
 vehicle from a friend at the time to make the road trip. The trip was convenient because it also aligned
 with Tyson's family member's wedding. I was told to get someone to help me drive the trip to
 Colorado and that is when I ask Tyson Richardson to ride with me. Jonathan Querisma gave me
 $7000.00, which was to be payment split in half between Mr. Richardson and myself for driving. Mr.
 Richardson was unaware of any of the details surrounding the money that was in the vehicle as was I.
 He was given $3500 (as was I) to make the trip with me. I specifically gave the 3500 to Tyson and he
 never spoke with Jonathan Querisma about the details about why we were going only that we were
 being paid to drop off"something" for music entertainment purposes (and exactly in those terms) on
 his behalf.

                                              2.
        th
July I 8 we departed on the trip. In or around the area of a highway in Hayes Kansas on July 19th, we
were pulled over about an alleged traffic violation. The vehicle was searched and myself and Tyson
Richardson were questioned and then released by law enforcement. The weld and bag were placed in
the trunk without either occupants (including myself) knowing exactly what was in the bag. We didn't
speculate anything illegal, so we were notified that there was a large cash amount present in the
vehicle.

                                             3.
Law enforcement mentioned something after the stop about a "stolen" vehicle, but that was never the
case. The vehicle was a loaner and was not stolen. I believe if the vehicle were truly stolen we would
have been taken into custody. This accusation only came after the alleged traffic violation, which was
the supposed reason for the stop. The officer mentioned "lingering" in the left lane and possible
·'speeding" but never specified which was the reasoning for the stop.

                                              4
After questioning we were released by law enforcement on side of the road. Upon attempting to contact
Mr. Querisma I was informed by his grandmother Julia Belle that a friend of his was killed and he was
not in reach to be contacted at the time. His assistant referred to as '·Kay Black'' stated that he was not
the same physically and mentally following the loss of his friend.
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DATED This the     IJ    day of   .J:d,     , 2022


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SWORN to subscribed before this    17     day   of'    >   f .a};   ,2022


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                                           tfOTARY PUBLIC




My Commission expires
